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1         The Court concludes that the Government is not entitled to a

2    rebuttable presumption that no condition or combination of conditions will

3    reasonably assure the defendant’s appearance as required and the safety or

4    any person or the community [18 U.S.C. § 3142(e)(2)].

5         The Court finds that no condition or combination of conditions will

6    reasonably assure:

7               ‫ ܈‬the appearance of the defendant as required.

8               ‫ ܈‬the safety of any person or the community.

9         The Court has considered the following:

10        (a) the nature and circumstances of the offense(s) charged, including

11        whether the offense is a crime of violence, a Federal crime of terrorism,

12        or involves a minor victim or a controlled substance, firearm, explosive,

13        or destructive device;

14        (b) the weight of evidence against the defendant;

15        (c) the history and characteristics of the defendant; and

16        (d) the nature and seriousness of the danger to any person or the

17        community.

18   See 18 U.S.C. § 3142(g) The Court also considered the report and

19   recommendation of the U.S. Pretrial Services Agency.

20        The Court bases its conclusions on the following:

21        As to risk of non-appearance:

22              ‫܈‬      Defendant is a citizen of Romania, has no legal status in

23   the United States, and was previously deported from the United States.

24              ‫܈‬      Defendant has significant family ties to Romania.

25              ‫܈‬      Defendant has no identified third party bail resources, and

26   unstable residence and employment, and an unverified background.

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1          As to danger to the community:

2                ց     In 2012 Defendant was convicted in Florida of felony

3    burglary, felony larceny, and misdemeanor resisting an officer; in 2013,

4    Defendant was convicted in New York of felony grand larceny.

5                ց     Allegations in the Complaint detailing Defendant’s active

6    participation in a bank fraud and identity theft scheme.

7          It is therefore ORDERED that Defendant Maria Dumitru be detained

8    until trial. The defendant will be committed to the custody of the Attorney

9    General for confinement in a corrections facility separate, to the extent

10   practicable, from persons awaiting or serving sentences or being held in

11   custody pending appeal. The defendant will be afforded reasonable

12   opportunity for private consultation with counsel. On order of a Court of the

13   United States or on request of any attorney for the Government, the person

14   in charge of the corrections facility in which defendant is confined will deliver

15   the defendant to a United States Marshal for the purpose of an appearance in

16   connection with a court proceeding. See 18 U.S.C. § 3142(i).

17   Dated: November 3, 2021
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19                                 PA T R IC IA D O N A H U E
                                    _______________________________
20                                  PATRICIA DONAHUE
                                    UNITED STATES MAGISTRATE JUDGE
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